                   Case 4:19-cv-07123-PJH Document 63 Filed 05/01/20 Page 1 of 3



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         16                                 UNITED STATES DISTRICT COURT

         17                             NORTHERN DISTRICT OF CALIFORNIA

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         19   WHATSAPP INC., a Delaware corporation,       Case No. 4:19-CV-07123-PJH
              and FACEBOOK, INC., a Delaware
         20   corporation,                                 WHATSAPP’S SUPPLEMENT TO
                                                           AMENDED ADMINISTRATIVE MOTION TO
         21                                                SEAL CONFIDENTIAL MATERIAL IN
                              Plaintiffs,                  WHATSAPP’S MOTION TO DISQUALIFY
         22                                                DEFENSE COUNSEL AND SUPPORTING
                    v.                                     DOCUMENTS (ERRATA)
         23
              NSO GROUP TECHNOLOGIES LIMITED               LOCAL RULES 7-11 AND 79-5
         24   and Q CYBER TECHNOLOGIES LIMITED,
                                                           Judge:     Hon. Phyllis J. Hamilton
         25                   Defendants.                  Date:      None Required (L.R. 7-11(c))

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                                                                             WHATSAPP’S SUPPLEMENT TO
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                                                                          AMENDED ADMIN MOTION TO SEAL
 SAN F                                                                       CASE NO. 4:19-CV-07123-PJH
                    Case 4:19-cv-07123-PJH Document 63 Filed 05/01/20 Page 2 of 3



          1          Pursuant to Civil Local Rules 7-11 and 79-5(d) and (e), Plaintiff WhatsApp Inc. (“WhatsApp”)

          2   submits this supplement to its amended motion to file under seal limited portions of the April 20, 2020

          3   Declaration of Daniel J. Grooms in support of its original motion to seal (the “April 20 Declaration”)

          4   and the May 1, 2020 Proof of Service (the “May 1 Proof of Service”). WhatsApp does not request

          5   sealing of the vast majority of the text of these documents. Instead, WhatsApp seeks sealing only of

          6   text that would disclose material that another court sealed in connection with an ongoing case, which

          7   that court ordered WhatsApp not to disclose.

          8   I.     BACKGROUND
          9          WhatsApp submitted the April 20 Declaration as a supplemental declaration from Daniel J.

         10   Grooms in support of WhatsApp’s original motion to seal. See ECF No. 51. The April 20 Declaration

         11   informed the Court of the Government’s position regarding WhatsApp’s motion to seal. See id. ¶ 6.

         12   Because that declaration revealed information relating to an ongoing case that is under seal, WhatsApp

         13   filed the April 20 Declaration under seal. See generally id. WhatsApp did not include the April 20

         14   Declaration in the list of documents it moved to seal in its amended motion to seal, see ECF No. 59,

         15   but believes specific portions of the April 20 Declaration should be sealed. As indicated in the May 1

         16   Proof of Service, WhatsApp served these documents on the Government.

         17   II.    ARGUMENT
         18          WhatsApp seeks to file under seal only those portions of the April 20 Declaration and the May

         19   1 Proof of Service that would disclose matter covered by a sealing order entered in another court in

         20   connection with an ongoing case. Specifically, WhatsApp seeks to seal Lines 2:9, 2:10-11, 2:12, 2:13,

         21   2:16, 2:16-17, 2:17-18, and 2:22 of the April 20 Declaration and Lines 2:15-20 of the May 1 Proof of

         22   Service. For the same reasons articulated in the April 29, 2020 Declaration of Daniel J. Grooms and

         23   WhatsApp’s Amended Motion to Seal, see ECF Nos. 59 & 59-2, there is good cause to seal this

         24   information as the information sought to be sealed in the April 20 Declaration and the May 1 Proof of

         25   Service is identical to the information sought to be sealed in the Amended Motion to Seal.

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Case 4:19-cv-07123-PJH Document 63 Filed 05/01/20 Page 3 of 3
